                     Case MDL No. 3100 Document 180 Filed 01/19/24 Page 1 of 1
  UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                 3100                                                       Real Estate Commission Litigation
MDL No. _____________ & TITLE - IN RE: __________________________________

Case Caption (Include Plaintiff, District, and Civil Action No.) (attach list if necessary):

QJ Team, LLC, et al. v. Texas Association of Realtors, Inc., et al., No. 4:23-cv-01013-SDJ (E.D. Tex.)
_________________________________________________________________

                                     CORPORATE DISCLOSURE STATEMENT

                                                 QJ Team, LLC
The undersigned counsel for ___________________________, (attach list if necessary) certifies that this
party is a non-governmental corporate party and that:


             This party's parent corporation(s) are listed below:




             The following publicly-held corporation(s) own 10% or more of the party's stock (attach list if
             necessary):




OR
✔       This party does not have any parent corporations; and no publicly-held corporation owns 10% or
more of the party's stock.



/s/ Frederic S. Fox                                                                 Kaplan Fox & Kilsheimer LLP
_____________________________                                                      __________________________________
       Signature of Attorney                                                                            Name of Firm


800 Third Avenue, 38th Floor                                                      New York, NY 10022
___________________________                                                      ___________________________________
       Address                                                                                          City/State/Zip Code

       1/19/2024
Date _____________________


Instructions:

1. Download the form. Fill out the form and save as a PDF document. All documents filed with the Judicial Panel should be in PDF Format including attachments and
exhibits. The Corporate Disclosure Statement is to be filed as a separate document. Any documents submitted with the Corporate Disclosure Statement are attachments.
2. Select MDL from the menu bar at the top of the ECF screen.
3. Click on Corporate Disclosure Statement. Select Next.
4. Enter the three or four digit number (without the MDL letters) and click the Find This Case button.
5. If this is the correct MDL No., select next. Also, select next for the following screen.
6. Choose the cases for which the Disclosure Statement is being filed.
7. Select the party filing the Disclosure Statement
8. Select the document to which the Corporate Disclosure relates. (Note: Disclosures filed in new litigations will be linked to the initial Motion for Transfer and Disclosures
filed in transferred litigations should be linked to the Conditional Transfer Order (CTO) or Motion and Brief to Vacate CTO).
9. Upload the Corporate Disclosure Form and any attachments as a PDF document.
10. Submit the Disclosure Statement by selecting the Next button.
